      Case 1:22-cv-00380-SM-AJ Document 27 Filed 03/21/24 Page 1 of 1



                       UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW HAMPSHIRE


Timothy O’Mara

      v.
                                                Case No. 22-cv-380-SM-AJ
NH State Prison for Men, et al




                                  ORDER

      No objection having been filed, I herewith approve the Report and

Recommendation of Magistrate Judge Andrea K. Johnstone dated November

28, 2023, for the reasons set forth there. “‘[O]nly those issues

fairly raised by the objections to the magistrate's report are subject

to review in the district court and those not preserved by such

objection are precluded on appeal.’”      School Union No. 37 v. United

Nat'l Ins. Co., 617 F.3d 554, 564 (1st Cir. 2010) (quoting Keating v.

Secretary of Health & Human Servs., 848 F.2d 271, 275 (1st Cir.1988));

see also United States v. Valencia-Copete, 792 F.2d 4, 6 (1st Cir.

1986) (after proper notice, failure to file a specific objection to

magistrate's report will waive the right to appeal).

      So Ordered.


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                                          Steven J. McAuliffe
                                          United States District Judge

Date: March 21, 2024

cc:   Timothy O’Mara, pro se
      Catherine Denny, Esq.
